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                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                          Plaintiffs,                                             8:13CR252

        vs.
                                                                                   ORDER
BRICE LENHARD,

                          Defendants.


        This matter is before the court on the defendant's motion for a 43-day extension of time in which to
file pretrial motions [43]. Upon review of the file, the court finds that a 29-day extension should be granted.


        IT IS ORDERED that the MOTION FOR ENLARGEMENT OF TIME TO FILE PRETRIAL
MOTIONS [43] is granted, in part, as follows:


        1.       The deadline for filing pretrial motions is extended to January 3, 2014.


        2.       Defendant is ordered to file a waiver of speedy trial as soon as practicable.


        3.       In accordance with 18 U.S.C. § 3161(h)(8)(A), the court finds that the ends of justice will be
served by granting this motion and outweigh the interests of the public and the defendant in a speedy trial.
Any additional time arising as a result of the granting of this motion, that is, the time between December 5,
2013 and January 3, 2014, shall be deemed excludable time in any computation of time under the requirement
of the Speedy Trial Act for the reason that counsel require additional time to adequately prepare the case,
taking into consideration due diligence of counsel and the novelty and complexity of this case. The failure to
grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B)(iv).




        Dated this 9th day of December, 2013.

                                                             BY THE COURT:

                                                             s/ F.A. Gossett, III
                                                             United States Magistrate Judge
